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 8                                         UNITED STATES DISTRICT COURT
 9                                      CENTRAL DISTRICT OF CALIFORNIA
10
     Warner Bros. Home Entertainment Inc., )                                 Case No. CV13-0889 DMG (DTBx)
11                                             )
                            Plaintiff,         )                             DISCOVERY MATTER
12                                             )
           v.                                  )                             [PROPOSED] ORDER GRANTING
13                                             )                             PLAINTIFF’S APPLICATION FOR
     Amazon.com Sellers fastmedia; SECRET )                                  LEAVE TO TAKE IMMEDIATE
14   SALE..; dealmakerz; ALLSEASONS;           )                             DISCOVERY PRIOR TO RULE
     Forlines Warehouse; B&Wc; Cape            )                             26(F) CONFERENCE
15   Breton, and Does 1 through 10, inclusive, )
                                               )
16                          Defendants.        )
17

18             The Court has read and considered all papers filed in connection with the Ex
19   Parte Application for Leave to Take Immediate Discovery Prior to Rule 26(F)
20   Conference (“the Application”) filed by Plaintiff Warner Bros. Home Entertainment
21   Inc. (“Plaintiff”).
22             IT IS HEREBY ORDERED that the Application is granted.
23             IT IS FURTHER ORDERED that Plaintiff may serve immediate discovery on
24   Amazon.com, Inc., Google, Inc., and Yahoo! Inc. (collectively “Third Party Service
25   Providers”) by serving Fed. R. Civ. P. 45 subpoenas for the production of documents
26   and/or deposition, which seek information sufficient to identify and locate
27   Defendants Amazon.com Sellers fastmedia, SECRET SALE.., dealmakerz,
28   ALLSEASONS, Forlines Warehouse, B&Wc, and Cape Breton (collectively
     Warner Bros. v. Amazon.com Sellers fastmedia,et al.: [Proposed]   -1-
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 1
     “Defendants”), including names, addresses, telephone numbers, the identity of the
 2
     Defendants’ financial institution(s), and other email address(es) and user IDs for the
 3
     Defendants. Should Plaintiff fail to learn the identity, whereabouts, or legal status of
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     Defendants from the service of these subpoenas, Plaintiff may serve additional
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     subpoenas seeking the same information upon other persons or entities revealed by
 6
     the limited discovery from the three entities described above.
 7
               If any of the Third Party Service Providers or any subsequent necessary entity
 8
     served wishes to file a motion to quash the subpoenas or to serve objections, it must
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     do so before the return date of the subpoenas, which shall be no less than twenty-one
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     (21) days from the date of service of the subpoenas. Among other things, the Third
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     Party Service Providers, or any subsequent necessary entity served may use this time
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     to notify the subscribers in question.
13
               The Third Party Service Providers and any subsequent necessary entity served
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     shall preserve any subpoenaed information or materials pending compliance with the
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     subpoenas or resolution of any timely objection or motion to quash.
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 1
               IT IS FURTHER ORDERED THAT Plaintiff must serve a copy of this order
 2
     on the Third Party Service Providers and any subsequent necessary entity when it
 3
     serves the subpoenas.
 4
               IT IS FURTHER ORDERED THAT any information disclosed to Plaintiff in
 5
     response to the Fed. R. Civ. P. 45 subpoena may be used by Plaintiff solely for the
 6
     purpose of protecting Plaintiff’s rights under the Copyright Act.
 7
     Dated:       March 25, 2013
 8
                                                                              ________________________________
 9                                                                            Hon. David T. Bristow
                                                                              United States Magistrate Judge
10

11
     PRESENTED BY:
12
     J. Andrew Coombs, A Professional Corp.
13

14
           /s/ Nicole L. Drey
     By: ______________________________
15         J. Andrew Coombs
           Nicole L. Drey
16   Attorneys for Plaintiff Warner Bros.
     Home Entertainment Inc.
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